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JUN 1 4 2013

THOMAS G BRUTON

UNITED STATES DISTRICT COURT CLERK, U.S DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS |

 

 

 

EASTERN DIVISION
Ed ward H am bree k
(Enter above the full name
of the plaintiff or plaintiffs in
this action)
13 C 4420

Judge John W. Darrah

VS. .
C; Chic ohce Sept: Magistrate Judge Daniel G. Martin

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Atorwey General ;
Cook County Atlorey Genera!

 

 

(Enter above the full name of ALL
defendants in this action. Do not

use "et al.")
CHECK ONE ONLY:

x COMPLAINT UNDER THE CIVIL RIGHTS ACT, TITLE 42 SECTION 1983
U.S. Code (state, county, or municipal defendants)

 

COMPLAINT UNDER THE CONSTITUTION ("BIVENS" ACTION), TITLE
28 SECTION 1331 U.S. Code (federal defendants)

OTHER (cite statute, if known)

 

BEFORE FILLING OUT THIS COMPLAINT, PLEASE REFER TO "INSTRUCTIONS FOR
FILING." FOLLOW THESE INSTRUCTIONS CAREFULLY.

 
I

Case: 1:13-cv-04420 Document #: 1 Filed: 06/14/13 Page 2 of 8 PagelD #:2 .

Plaintifi(s):

A. Name: -dward Hanbnick

 

| List all aliases:

B. . -

CS Prisoner identifi cation number: _ 35/6 & @ 203040%01)
D. Place of present confinement: Conk Covaity Aeot of Coocechines ,
B. Address: 26D S. Cal forma Chg Le. eobog

(if there is more than one plaintiff, then each plaintiff must list his or her name, aliases, I.D.
number, place of confinement, and current address according to the above format on a

separate sheet of paper.)

| Defendant(s):
__(In_A below. place the: full name.of the first defendant inthe first. blank his or

" position in the sécond bianik, and his or her piace of employment in the third blank. “Space Oe
for two additional defendants is provided in B and C.)

Dn bia k, Kodeveg ue , Tohueow, Proane, Un Eason
f . é 4

 

A. Defendant: atticer;
Title: A.taga Police (fcc elA
Place of Employment: City of Cheaga Lf: ce. Aepactocat

B. ~ Defendant: Attorney erly Galvin
Title; Ababa Cavk “Con Att: arty

_ Place of Employment: Cook Cowatty = hiwors

¢

C. Defendant: -/ sa 2

| Title: _ZZ//wog Spite Attorwey Gemeral

 

Place of Employment: Stale of Ly fis os.

(If you have more than three defendants, then all additional defendants must be listed
according to the above Format on a separate sheet of paper.)

2 Revised 9/2007
iil.

Case: 1:13-cv-04420 Document #: 1 Filed: 06/14/13 Page 3 of 8 PagelD #:3

List ALL lawsuits you (and your co-plaintiffs, if any) have filed in any state or federal
court in the United States:

A.

Name of case and docket number:

 

 

Approximate date of filing lawsuit:

 

List all plaintiffs (if you had co-plaintiffs), including any aliases:

 

 

 

List all defendants:

 

 

 

 

Court in which the lawsuit was filed (if federal court, name the district; if state court,
name the county):

 

Name of judge to whom case was assigned:

 

 

Basic claim made:

 

 

 

Disposition of this case (for example: Was the case dismissed? Was it appealed?
Is it still pending?):

 

 

 

Approximate date of disposition:

 

IF YOU HAVE FILED MORE THAN ONE LAWSUIT, THEN YOU MUST DESCRIBE THE
ADDITIONAL LAWSUITS ON ANOTHER PIECE OF PAPER, USING THIS SAME
FORMAT. REGARDLESS OF HOW MANY CASES YOU HAVE PREVIOUSLY FILED,
YOU WILL NOT BE EXCUSED FROM FILLING OUT THIS SECTION COMPLETELY,
AND FAILURE TO DO SO MAY RESULT IN DISMISSAL OF YOUR CASE. CO-
PLAINTIFFS MUST ALSO LIST ALL CASES THEY HAVE FILED.

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IV. Statement of Claim:

State here as briefly as possible the facts of your case. Describe how each defendant is
involved, including names, dates, and places. Do not give any legal arguments or cite any
cases or statutes. If you intend to allege a number of related claims, number and set forth
each claim in a separate paragraph. (Use as much space as you need. Attach extra sheets
if necessary.)

 

    

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4 Revised 9/2007

 
 

 

. Case: 1:13-cv-04420 Document #: 1 Filed: 06/14/13 Page 5 of 8 PagelD #:5

 

 

 

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5 Revised 9/2007

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Case: 1:13-cv-04420 Document #: 1 Filed: 06/14/13 Page 6 of 8 PagelD #:6

 

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Case: 1:13-cv-04420 Document #: 1 Filed: 06/14/13 Page 7 of 8 PagelD #:7
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Case: 1:13-cv-04420 Document #: 1 Filed: 06/14/13 Page 8 of 8 PagelD #:8

y,> Relief:

‘State briefly exactly what you want the court to do for you. Make n no legal arguments. Cite
" no cases or statutes.

— .
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2 Sed wey Litt A vole, , .
Vie The plaintiff demands that the case be tried by a jury. Xl YES O NO . .

CERTIFICATION

 

Complaint | are Tie 16 “the best oF my knowledge, ‘information and
_. belief. I understand that if this certification is not correct, I may be

subject to sanctions by the Court.

 

 

 

Signed this 2a OF day of _M “t ,20 23

RT ASE

(Signature of plaintiff or plaintiffs)

cee Lease Hnick

(Print name)

 

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(I.D. Number)
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